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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA,



v.                                                        CASE N0.3:11CR00125-01


DAJON SEKEE WASHINGTON
                      Defendant



         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon


the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and an oral


recitation and the statement of facts that have been agreed upon by the United States and the


Defendant. The mutter was presented to the court upon the written consent of the Defendant and


counsel for the Defendant to proceed before a United States Magistrate Judge, said consent

including the Defendant's understanding that he consented to not only having the Magistrate


Judge conduct the liearing and enter any order of forfeiture, if applicable, but also to having the


Magistrate Judge make necessary findings and accepting any guilty plea as may be entered that

could not be withdrawn except for fair and just reason.


         The Defendant pled guilty to Count One of the Indictment in open court and pursuant to

a Rule 11 inquiry. Upon consideration of the responses and statements made by the Defendant


under oath, on the record, and based upon the oral recitation and statement of facts presented, the

court makes the following findings:


        1.     That the Defendant is competent to enter a plea of guilty;


        2.     That the Defendant understands the nature of the charge against him to which his
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        plea is offered;


  3.    That the Defendant understands what the maximum possible penalties are upon


        conviction of the offense charged, including any mandatory minimum periods of

        confinement, the effect of any required term of supervised release, the loss of

        various civil rights (if applicable, including the right to vote, the right to hold

        public office, the right to own and possess a firearm), the possibility of adverse


        immigration consequences (if applicable), the required imposition of a special

        assessment, forfeiture of real and/or personal property (if applicable), and

        restitution (if applicable);


  4.    Thai the sentencing court has jurisdiction and authority to impose any sentence


        within the statutory maximums provided, but that the court will determine the


        defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the

        court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a


        sentence above or below the advisory sentencing range, subject only to review by


        higher courts for reasonableness;


   5.   That the Defendant understands his right to persist in a plea of not guilty and


        require that the matter proceed to trial with all the rights and privileges attending a


         trial, including, but not limited to: the right to effective assistance of counsel; the


         right to use the power and processes of the court to compel evidence on the


         Defendant's behalf; the right to confront and cross-examine adverse witnesses; the


         right to present relevant evidence; the right to remain silent; and the right to trial


         by jury;


   6.    That the plea of guilty entered by the Defendant was knowingly and voluntarily
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              entered and is not the result of force or intimidation of any kind; and


       7.     That the plea of guilty entered by the Defendant was knowingly and voluntarily


               made with full knowledge of the consequences and with an independent basis in


               fact lo support said plea.


       Accordingly, the court accepted the Defendant's plea of guilty to Count One of the


Indictment and entered judgment of guilt on the subject charge. It is therefore the

recommendation of this court that its findings, including the acceptance of the Defendant's plea


of guilty and resulting judgment of guilt, be adopted.




                                                          /s/
                                                   M. Hannah Lauck
                                                   United States Magistrate Judge



Dated: June 28,2010
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                                          NOTICE


       The Defendant is advised that he/she may file specific written objection to this

report and recommendation with the court within fourteen (14) days of this date. If

objection is noted, the party objecting must promptly arrange for the transcription of the


relevant record and file it forthwith with the court for its use in any review. Failure to

object in accordance with this notice, including the requirement for preparation of a

transcription of the relevant portions of the record, will constitute a waiver of any right to

de novo review of the matter and may result in adoption of the recommendation, including


the finding of guilt as entered by the magistrate judge.
